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          IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                            CENTRAL DIVISION




UNITED STATES OF AMERICA,
         Plaintiff,                        AMENDED REPORT AND
                                           RECOMMENDATION


              vs.


FRANCISCO VALENCIA,                        Case No. 2:05-CR-895 DAK
         Defendant.




     Before the court is a motion to suppress filed by Defendant

Francisco Valencia.     (File Entry #327.)     Defendant seeks to have

suppressed all evidence obtained from the September 22, 2005

search of Defendant’s person, car, and home, and any statements

made by Defendant during that detention and search.

     After thoroughly reviewing and considering the parties’

pleadings, the court recommends that Defendant’s motion to

suppress (#327) be denied.

                          FACTUAL BACKGROUND1

     On August 30, 2005, Taylorsville Detective Stephens arrested

a person in possession of narcotics.       (File Entry #618, at 1.)



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      The facts upon which the court relies in this case were
presented to the court by stipulation. (File Entries #500, 501,
618.)
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That person identified his dealer as “Lalo,” pointed out the

house on Dean Circle where “Lalo” lived, and said that “Lalo”

drove a white GMC Yukon.     (File Entry #618, at 1.)       All of this

information was provided to Detective Miller before September 22,

2005.    (File Entry #618, at 1; File Entry #500, Exhibit, Police

Report, at 1.)    The house in question, located on the west side

of Dean Circle, was also identified to Detective Miller.           The

address of that house was 4412 South Dean Circle, Apartment B

(hereafter “Dean Circle house”).        (File Entry #618, at 1; File

Entry #500, Exhibit, at 1.)

     On September 22, 2005, Detective Miller was on narcotics

patrol in the area of Dean Circle when he saw a white Yukon

parked on the west side of Dean Circle.        Detective Miller also

saw a green Ford Explorer coming and going from the Dean Circle

house.    Detective Miller checked the registration on the Explorer

and discovered that it was listed as uninsured.         (File Entry

#500, Exhibit, at 1.)     When the Explorer left the Dean Circle

house, Detective Miller followed it.        Detective Miller then

stopped the Explorer due to its registration showing that it was

uninsured.    (File Entry #500, Exhibit, at 1.)

     As the Explorer stopped, Detective Miller saw the front

female passenger make furtive movements by leaning forward

towards the front of her seat.      Detective Miller then made

contact with the Explorer’s driver.        The driver had a Mexico

issued identification that identified the driver as Ever Garcia.

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Garcia told Detective Miller that he did not have a valid Utah

driver’s license.    Detective Miller was unable to verify if the

Explorer was properly insured.      (File Entry #500, Exhibit, at 1.)

     Detective Miller then arrested Garcia for being an

unlicensed driver.     In Garcia’s wallet, Detective Miller found a

fraudulent Social Security card in Garcia’s name.         Detective

Miller described the card as appearing to have been photocopied

and then having had the number typed over the top of it.

Detective Miller had the female passenger get out of the Explorer

so it could be searched incident to Garcia’s arrest and prior to

impound.   The female passenger identified herself as Garcia’s

girlfriend.    She said her name was Elizabeth Munguia and that she

was a juvenile.    (File Entry #500, Exhibit, at 1.)

     During his search of the Explorer, Detective Miller first

searched the area where he had seen Munguia making the furtive

movements.    There Detective Miller found an open can of beer

which was cold to the touch.      Detective Miller told Munguia she

was going to be arrested for possession of alcohol by a minor and

open container.    Munguia responded that the beer was not hers and

she was holding it for her brother.       Munguia said her brother was

Francisco Valencia.     Munguia said her brother lived at the Dean

Circle house, and she confirmed that he drove a white GMC Yukon.

(File Entry #500, Exhibit, at 1.)

     In the Explorer’s ashtray, Detective Miller found a bag

containing several “twists” of narcotics.        There were four twists

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of field tested positive methamphetamine, each weighing 0.6

grams, and seven twists containing field tested positive cocaine,

each weighing 0.6 grams.     Munguia told Detective Miller that she

did not know the narcotics were in the Explorer.         Garcia told

Detective Lance in Spanish that the narcotics were his and that

he had obtained them at the club “Rumba.”        (File Entry #500,

Exhibit, at 1.)

      A tow truck arrived on the arrest scene and a hold for owner

tow of the vehicle was conducted.       Garcia was taken to jail.

(File Entry #500, Exhibit, at 1.)

      Detective Miller drove Munguia back to the Dean Circle house

to release her to her mother.      As they arrived at Dean Circle,

Detective Miller saw the white Yukon drive past him heading

towards the Dean Circle house.      In his stipulation, Defendant

stated that while he was driving the Yukon, he noticed a police

vehicle parked on the side of the road and passed it when he was

approximately one or two blocks from his residence, the Dean

Circle house.    (File Entry #501, at 2.)      As he proceeded to the

Dean Circle house, Defendant noticed that the police vehicle he

had passed, along with “several additional police vehicles, with

their sirens and lights activated, converged upon his residence.”

(File Entry #501, at 2.)     Detective Miller stopped Defendant in

front of the Dean Circle house.       (File Entry #500, Exhibit, at

2.)



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      Defendant then told Detective Miller that he was Francisco

Valencia.    Detective Miller told Defendant about the information

Detective Miller had been given concerning the distribution of

narcotics.   Defendant said that he did not have any narcotics.

Detective Miller then asked Defendant for consent to search the

Yukon, and Defendant consented.       Defendant also consented to a

search of the Dean Circle house, where, he told the officer, he

resided.    Defendant later identified his room as the one on the

northeast corner of the top floor.       (File Entry #500, Exhibit, at

2.)

      Detectives made contact with Defendant’s mother at the door

of the Dean Circle house while Detective Miller was talking to

Defendant.   Those detectives received consent from Defendant’s

mother to search her residence.       (File Entry #500, Exhibit, at

2.)

      Detective Miller asked Defendant for permission to search

his person for narcotics, and Defendant consented.          During the

search of Defendant’s person, Detective Miller discovered $762.00

of United States currency in Defendant’s pants pocket.          (File

Entry #500, Exhibit, at 2.)

      Before searching the Yukon, Defendant revealed that he had a

small amount of narcotics in the center console for personal use.

Detective Miller looked in the center console and saw a bag

containing an off-white crystal-like substance which, through

training and experience, Detective Miller identified as

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methamphetamine.    A narcotics dog was requested to the scene.

The narcotics dog alerted to the presence of narcotics in the

Yukon.   Detective Miller took the methamphetamine, which weighed

approximately one ounce.     According to Detective Miller’s report,

a typical user amount is 1/4 gram, which meant the bag contained

approximately 112 user amounts of methamphetamine.          (File Entry

#500, Exhibit, at 2.)

     Detective Miller also conducted the consent search of the

Dean Circle house.     In the room Defendant had identified as his

bedroom, Detective Miller found what appeared to be cocaine and

methamphetamine, including a twist that was the same type of

twist Detective Miller had found in Garcia’s Explorer.          Detective

Miller also found drug paraphernalia and a handgun.          (File Entry

#500, Exhibit, at 2.)

     Defendant stated the he was an illegal immigrant and

confirmed that his nickname was “Lalo.”        (File Entry #500,

Exhibit, at 2.)

                         PROCEDURAL BACKGROUND

     After being arrested in the current case, Defendant filed

the motion to suppress that is now before the court.          (File Entry

#327.)   A hearing was held on the motion on April 24, 2007, at

which time Defendant’s counsel and the Government informed the

court that they were drafting a stipulated set of facts to submit

to the court.    (File Entry #492.)     Two of the stipulated



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submissions of fact were filed on May 3, 2007.         (File Entries

#500, 501.)

     On June 8, 2007, the Government filed its memorandum

opposing Defendant’s motion to suppress.        (File Entry #561.)     On

June 13, 2007, Defendant filed his memorandum in support of his

motion to suppress.     (File Entry #568.)

     Another motion to suppress hearing was held on July 12,

2007.   (File Entry #601.)     At that hearing, the Government

requested an opportunity to file a supplemental stipulation of

facts, which request the court granted.

     The Government filed its additional stipulated facts on July

25, 2007.    (File Entry #618.)    On August 6, 2007, Defendant filed

a response to the Government’s additional stipulated facts (File

Entry #640), and the court took the matter under advisement.

                                ANALYSIS

     Defendant seeks to suppress evidence obtained from the

search of his person, car, and home.       First, Defendant argues

that the stop of him in the Yukon was not justified at its

inception.    Second, Defendant argues that the Government has

failed to establish the validity of the scope of his detention.

Third, Defendant argues that the Government has failed to

adequately establish that Detective Miller received the necessary

consent to conduct the warrantless searches of Defendant’s

person, car, and home.     Fourth, Defendant argues that his Miranda

rights were violated.     Finally, Defendant argues that his

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statements were not made voluntarily.        The court addresses each

of these arguments in turn, starting with Defendant’s challenge

of the initial stop.

                            A.   Initial Stop

     An investigative stop is a seizure within the meaning of the

Fourth Amendment and must be justified at its inception.           See

Terry v. Ohio, 392 U.S. 1, 19-20 (1968).        “It is well settled

that an investigative stop is justified where police officers

have ‘a reasonable, articulable suspicion that the detainee has

been, is, or is about to be engaged in criminal activity.’”

United States v. Elkins, 70 F.3d 81, 83 (10th Cir. 1995) (quoting

United States v. Nicholson, 983 F.2d 983, 987 (10th Cir. 1993)

(citing Terry, 392 U.S. at 21)).

     “Reasonable suspicion is a ‘particularized and objective

basis for suspecting the person stopped of criminal activity.’”

United States v. Treto-Haro, 287 F.3d 1000, 1004 (10th Cir. 2002)

(quoting United States v. Callarman, 273 F.3d 1284, 1286 (10th

Cir. 2001)).    The presence of reasonable suspicion is not

determined by any one factor, but by the totality of the

circumstances.    Alabama v. White, 496 U.S. 325, 330 (1990); see

also United States v. Sokolow, 490 U.S. 1, 7 (1989) (explaining

that whether an officer has reasonable suspicion to initiate a

stop is “‘not readily, or even usefully, reduced to a neat set of

legal rules’”).    Determining whether reasonable suspicion exists



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requires a court to adopt a “common sense” approach.          United

States v. Williams, 271 F.3d 1262, 1268 (10th Cir. 2001).

      Reasonable suspicion “is dependent upon both the content of

information possessed by police and its degree of reliability.

Both factors - quantity and quality - are considered in the

‘totality of the circumstances - the whole picture.’”          Alabama v.

White, 496 U.S. 325, 330 (1990) (quoting United States v. Cortez,

449 U.S. 411, 417 (1981)).      The central question is whether

“[b]ased upon the whole picture the detaining officers [had] a

particularized and objective basis for suspecting the particular

person stopped of criminal activity.”        Cortez, 449 U.S. at 417-

18.   Tips, even if anonymous, coupled with independent police

work, provide reasonable suspicion to warrant an investigative

stop.   White, 496 U.S. at 330.

      “Reasonable suspicion is a less demanding standard than

probable cause not only [because] reasonable suspicion can be

established with information that is different in quantity or

content than that required to establish probable cause, but also

[because] reasonable suspicion can arise from information that is

less reliable than that required to show probable cause.”           Treto-

Haro, 287 F.3d at 1004; see also United States v. Mendez, 118

F.3d 1426, 1431 (1997) (“[R]easonable suspicion represents a

‘minimum level of objective justification.’”).

      Turning to the instant case, Defendant argues that the stop

was not lawful at its inception.        The court concludes that this

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argument lacks merit because Detective Miller had reasonable

suspicion to believe that Defendant was dealing drugs, allowing

him to conduct an investigative stop to determine whether his

suspicions were correct.      Detective Miller had first received

information from a fellow detective that a confidential police

informant had disclosed that a person named “Lalo,” who was

living at Defendant’s home, was involved in the distribution of

methamphetamine.     (File Entry #500, Exhibit, at 1; File Entry

#618, at 1.)    The informant had also disclosed that the same

“Lalo” drove a white GMC Yukon.       (File Entry #500, Exhibit, at

1.)   Detective Miller saw a white Yukon parked on the same street

as the home in question.      (File Entry #500, Exhibit, at 1.)

Further, when Detective Miller stopped the Explorer, which had

just left the home in question, Munguia, the young woman in the

Explorer, identified herself as the sister to Francisco Valencia.

(File Entry #500, Exhibit, at 1.)        Munguia told Detective Miller

that Francisco Valencia lived at the home in question and drove a

white Yukon.    (File Entry #500, Exhibit, at 1.)        In addition,

Detective Miller found four twists of methamphetamine, each

weighing .6 grams, and seven twists of cocaine, each weighing .6

grams, in the Explorer.      Finally, when Detective Miller was

driving Munguia back to the Dean Circle house, the white Yukon

drove past Detective Miller towards the Dean Circle house.           (File

Entry #500, Exhibit, at 2.)      This information was enough to

provide Detective Miller with reasonable suspicion to conduct an

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investigative stop of Defendant.         As a result, the court rejects

Defendant’s argument.

                         B.   Scope of Detention

      Second, Defendant argues that the Government has failed to

establish the validity of the scope of Defendant’s detention.

      An “investigative detention usually must ‘last no longer

than is necessary to effectuate the purpose of the stop,’ and

‘[t]he scope of the detention must be carefully tailored to its

underlying justification.’”      United States v. Hunnicutt, 135 F.3d

1345, 1349 (10th Cir. 1998) (quoting Florida v. Royer, 460 U.S.

491, 500 (1983)).     However, police may ask additional questions

unrelated to the purpose of the stop and lengthen the detention

when they either have reasonable suspicion or when they obtain

consent.   See id.

      In this case, Detective Miller limited the initial stop by

asking Defendant only one question and then receiving consent to

conduct the searches.      In so doing, Detective Miller followed

proper procedure for investigative detentions.         He stopped

Defendant under the reasonable suspicion that Defendant was

engaged in drug trafficking.       He then asked Defendant

specifically whether or not he was dealing narcotics.           After

Defendant denied that he was dealing drugs, Detective Miller

asked Defendant for consent to search his car and residence.

Later, Detective Miller also asked for consent to search

Defendant’s person.     In each case, as set forth below, Defendant

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consented to the searches.      As a result, the court concludes that

Detective Miller did not exceed the scope of the stop.

                               C.   Consent

      Third, Defendant argues that the Government has failed to

adequately establish that Detective Miller received the necessary

consent to conduct the warrantless searches of Defendant’s

person, car, and home.

      “[A] search conducted pursuant to a valid consent is

constitutionally permissible . . . [and] wholly valid.”

Schneckloth v. Bustamonte, 412 U.S. 218, 222 (1973).          The

Government bears the burden of proving that, under the totality

of the circumstances, the person freely and voluntarily gave

unequivocal and specific consent.        See id.; United States v.

Winningham, 140 F.3d 1328, 1331 (10th Cir. 1998).

      The police report provides all the facts presented regarding

Defendant’s consent.     The police report states that when

Detective Miller asked Defendant for consent to search the Yukon,

Defendant consented.     The police report further states that

Defendant also consented to a search of the Dean Circle house,

where he said he resided, and that Defendant later told the

police where to find his bedroom.        Detective Miller also asked

Defendant for permission to search his person for narcotics, and

Defendant consented.     (File Entry #500, Exhibit, at 2.)

      Although it would be helpful if the facts in this case were

more detailed and specific, the court concludes that the facts

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presented are adequate to establish that Defendant’s consent was

freely and voluntarily given.       When Detective Miller first asked

Defendant if he could search the Yukon, Defendant had been

stopped for a brief time.      See Schneckloth, 412 U.S. at 226

(stating length of detention is a factor to be considered in

evaluating consent).     Consent was obtained each time near

Defendant’s home, in public view, with family members nearby.            No

evidence has been presented, including by Defendant in his

Stipulation on Testimony of Francisco Valencia (File Entry #501),

that officers at any time drew weapons, touched him, or otherwise

physically threatened him.      In addition, although the facts

indicate that other officers were present during the encounter,

apparently only Detective Miller questioned Defendant.           No

evidence has been presented that Detective Miller used an

insisting tone or manner with Defendant.        No evidence has been

presented that Defendant equivocated in giving his consent to

search his car, his residence, or his person, nor is there any

indication that Defendant was subjected to repeated or prolonged

questioning.    Moreover, Defendant has not presented evidence

showing that he was unusually susceptible to coercion, that he

was confused or intimidated by the situation or somehow

misunderstood the requests for consent, and nothing in the facts

suggests that the officers acted improperly, abusively, or

coercively.



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      Instead, the stipulated facts indicate Defendant simply

consented to Detective Miller’s request to search the Yukon, and

then he voluntarily explained that some narcotics were located in

the center console of the Yukon for his personal use.           In

addition, the facts indicate that when Detective Miller asked for

consent to search Defendant’s residence, Defendant simply

consented, and then later told the officer where his bedroom was

located.   Finally, when Detective Miller asked Defendant for

consent to search Defendant’s person, the facts indicate that,

again, Defendant simply consented.        Each time Defendant consented

he was unrestrained, near his home, and near family members, who

were also home.     The court finds that, based on the totality of

the circumstances in this case, Defendant’s consent was freely

and voluntarily given and was unequivocal and specific.2


     The Government also argues that Defendant’s mother’s
      2

consent provides a separate basis for the police to conduct the
warrantless search of the Dean Circle house. However, the facts
regarding Defendant’s mother’s consent do not provide the court
with the necessary information for the court to determine whether
Defendant’s mother possessed common authority over the Dean
Circle house, particularly Defendant’s bedroom, including whether
she had mutual use of the property by virtue of joint access or
control for most purposes over it. See United States v. Matlock,
415 U.S. 164, 171 (1974) (holding third parties can consent to a
warrantless search when they possess common authority over the
premises or other sufficient relationship to the premises or
effects sought to be inspected); United States v. Rith, 164 F.3d
1323, 1329 (10th Cir. 1999) (stating “a third party has authority
to consent to a search of property if that third party has either
(1) mutual use of the property by virtue of joint access, or (2)
control for most purposes over it”). Although there is a
presumption that parents have control for most purposes over an
adult child’s bedroom when that child lives with them and does
not pay rent, see id. at 1331, the facts do not disclose whether

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                               D.   Miranda

      Finally, Defendant argues that his rights under Miranda v.

Arizona, 384 U.S. 436 (1966), were violated, and that as a

result, the statements he made should be suppressed.          “‘[T]wo

requirements must be met before Miranda is applicable; the

suspect must be “in custody,” and the questioning must meet the

legal definition of “interrogation.”’”        United States v. Bennett,

329 F.3d 769, 774 (10th Cir. 2003) (quoting United States v.

Perdue, 8 F.3d 1455, 1463 (10th Cir. 1993)).

      For purposes of Miranda, in determining whether an

individual was in custody, “a court must examine all of the

circumstances surrounding the interrogation, but ‘the ultimate

inquiry is simply whether there [was] a “formal arrest or

restraint on freedom of movement” of the degree associated with a

formal arrest.’” Stansbury v. California, 511 U.S. 318, 322

(1994) (per curiam) (quoting California v. Beheler, 463 U.S.

1121, 1125 (1983) (per curiam) (citation omitted)); accord,

United States v. Jones, 933 F.2d 807, 810 (10th Cir. 1991);

United States v. Chalan, 812 F.2d 1302, 1306 (10th Cir. 1987),

cert. denied, 488 U.S. 983 (1988).




Defendant paid his mother rent or otherwise had some sort of
agreement with her that she was allowed to freely enter his
bedroom. The Government simply has not met its burden to provide
the court with sufficient facts to enable it to make the
determination whether Defendant’s mother could consent to the
search of Valencia’s bedroom.

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      “To measure the degree of restraint on the freedom of a

suspect’s movement, a court must examine ‘how a reasonable man in

the suspect’s position would have understood his situation.’”

Chalan, 812 F.2d at 1306 (quoting Berkemer v. McCarty, 468 U.S.

420, 442 (1984)).     Under these circumstances, an objective,

reasonable-person test has been deemed appropriate, as opposed to

a subjective test, because it does not “‘place upon the police

the burden of anticipating the frailties or idiosyncracies of

every person whom they question.’” Berkemer, 468 U.S. at 442 n.

35 (citation omitted).

      In addressing whether Defendant was subjected to a custodial

interview, “the initial determination of custody depends on the

objective circumstances of the interrogation, not on the

subjective views harbored by either the interrogating officers or

the person being questioned.”        Stansbury, 511 U.S. at 323.     The

subjective views of the officer “concerning the nature of an

interrogation, or beliefs concerning the potential culpability of

the individual being questioned,” may be considered in assessing

“whether that individual was in custody, . . . only if the

officer’s views or beliefs were somehow manifested to the

individual under interrogation and would have affected how a

reasonable person in that position would perceive his or her

freedom to leave.”     Id. at 325.

      In this case, Defendant was not restrained at any time

during the encounter.      The officers never used force or the

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threat of force against him.        Defendant had not committed any

traffic violation and was not told that he was being held for

that purpose.    The officers never told Defendant that he was

under arrest.    Indeed, Defendant was free to move about at the

time that he made statements to the officers.         Further, although

the facts indicate that at least two officers were present for at

least part of the encounter, apparently only Detective Miller

spoke to Defendant.     In addition, the encounter took place in and

near Defendant’s own residence.        See United States v. Ritchie, 35

F.3d 1477, 1485 (10th Cir. 1994) (explaining that fact that

interrogation took place in familiar surroundings, such as

suspect’s residence, weighed against determination that suspect

was in custody).     The court concludes that the totality of the

circumstances in this case indicates a non-custodial encounter.

      Because the court concludes that Defendant was not “in

custody,” the requirements of Miranda did not apply.          As a

result, the court rejects Defendant’s Miranda argument.

                            E.    Voluntariness

      In order to be admissible, a statement made by a defendant

to law enforcement officers must be voluntary, whether or not the

defendant was in custody.        The Government bears the burden of

establishing by a preponderance of the evidence that a statement

was voluntary.     See Lego v. Twomey, 404 U.S. 477, 489 (1972);

United States v. McCullah, 76 F.3d 1087, 1100 (10th Cir. 1996).

The test for determining the voluntariness of a statement is

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whether, under the totality of the circumstances, law enforcement

obtained the statement by overbearing the will of the accused.

See Dickerson v. United States, 530 U.S. 428, 434 (2000); Haynes

v. Washington, 373 U.S. 503, 513 (1963); United States v. Erving

L., 147 F.3d 1240, 1248-49 (10th Cir. 1998); United States v.

Glover, 104 F.3d at 1570, 1579 (10th Cir. 1997).

      In deciding whether the statement was obtained by

overbearing the accused’s will, courts focus on the conduct, if

any, of law enforcement officers in creating pressure, and the

individual’s ability to resist such pressure.         See Mincey v.

Arizona, 437 U.S. 385, 399-402 (1978); Davis v. North Carolina,

384 U.S. 737, 752 (1966).      Stated another way, the issue is

whether the defendant’s will was overborne and the capacity for

self determination critically impaired.        See Schneckloth v.

Bustamonte, 412 U.S. 218, 225-26 (1973); McCullah, 76 F.3d at

1101.   Coercive police activity is a necessary element for

finding involuntariness.      See Colorado v. Connelly, 479 U.S. 157,

167, 170 (1986); Glover, 104 F.3d at 1580; United States v.

Robertson, 19 F.3d 1318, 1321 (10th Cir. 1994).         The police must

“overreach by exploiting a weakness or condition known to exist.”

Robertson, 19 F.3d at 1321.

      Turning to the instant case, the court concludes that

Defendant’s statements were voluntary.        The totality of the

circumstances does not support that Defendant’s statements were



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obtained by overbearing Defendant’s will or as a result of

coercive police activity.      As already set forth above, although

the facts indicate that other officers were present during the

encounter, apparently only Detective Miller questioned Defendant.

No evidence has been presented that Detective Miller used an

insisting tone or manner with Defendant, nor is there any

indication that Defendant was subjected to repeated or prolonged

questioning.    In addition, Defendant has not presented evidence

showing that he was unusually susceptible to coercion, that he

was confused or intimidated by the situation or somehow

misunderstood Detective Miller’s questions or requests, and

nothing in the facts suggests that the officers acted improperly,

abusively, or coercively.      Defendant was not restrained at any

time during the encounter.      The officers never used force or the

threat of force against him.       Furthermore, the encounter took

place in and near Defendant’s home with family members close by.

      Under the totality of the circumstances, the court concludes

that the Government has met its burden of establishing by a

preponderance of the evidence that Defendant’s statements were

voluntary.

                             RECOMMENDATION

      Based on the foregoing analysis, IT IS HEREBY RECOMMENDED

that Defendant Francisco Valencia’s motion to suppress (File

Entry #327) be DENIED.



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      Copies of the foregoing report and recommendation are being

mailed to the parties who are hereby notified of their right to

object to the same.     The parties are further notified that they

must file any objections to the report and recommendation, with

the clerk of the district court, pursuant to 28 U.S.C. § 636(b),

within ten (10) days after receiving it.        Failure to file

objections to both factual and legal findings may constitute a

waiver of those objections on subsequent appellate review.

           DATED this 21st day of September, 2007.

                             BY THE COURT:




                             Samuel Alba
                             United States Chief Magistrate Judge




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